              Case 4:19-cr-00115-O Document 37 Filed 08/13/19                Page 1 of 4 PageID 89
                              UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF TEXAS
                                            Fort Worth Division

UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE

v.                                                         Case Number: 4:19-CR-00115-O(01)
                                                           U.S. Marshal’s No.: 58434-177
LORAGECAR FIGARO                                           Robert Boudreau, Assistant U.S. Attorney
                                                           Abe Factor, Attorney for the Defendant


       On April 22, 2019, the defendant, LORAGECAR FIGARO, entered a plea of guilty as to Count One of
the Superseding Information filed on April 18, 2019. Accordingly, the defendant is adjudged guilty of such
Count, which involves the following offense:

Title & Section                      Nature of Offense                              Offense Ended      Count
18 U.S.C. § 1708                     Possession of Stolen Mail                      2/21/2019          One


       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission pursuant to Title 28, United States Code § 994(a)(1), as advisory only.

       The defendant shall pay immediately a special assessment of $100.00 as to Count One of the
Superseding Information filed on April 18, 2019.

       The defendant shall notify the United States Attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.


                                                         Sentence imposed August 12, 2019.




                                                         ____________________________________________
                                                         REED O’CONNOR
                                                         U.S. DISTRICT JUDGE


                                                         Signed August 13, 2019.
           Case 4:19-cr-00115-O Document 37 Filed 08/13/19                Page 2 of 4 PageID 90
Judgment in a Criminal Case                                                                           Page 2 of 4
Defendant: LORAGECAR FIGARO
Case Number: 4:19-CR-00115-O(1)



                                              IMPRISONMENT

       The defendant, LORAGECAR FIGARO, is hereby committed to the custody of the Federal Bureau of
Prisons (BOP) to be imprisoned for a term of Fifty Seven (57) months as to Count One of the Superseding
Information filed on April 18, 2019.

       The defendant is remanded to the custody of the United States Marshal.

                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
Three (3) years as to Count One of the Superseding Information filed on April 18, 2019.

       While on supervised release, in compliance with the standard conditions of supervision adopted by the
United States Sentencing Commission, the defendant shall:

( 1)   not leave the judicial district without the permission of the Court or probation officer;
( 2)   report to the probation officer as directed by the Court or probation officer and submit a truthful
       and complete written report within the first five (5) days of each month;
( 3)   answer truthfully all inquiries by the probation officer and follow the instructions of the
       probation officer;
( 4)   support the defendant's dependents and meet other family responsibilities;
( 5)   work regularly at a lawful occupation unless excused by the probation officer for schooling,
       training, or other acceptable reasons;
( 6)   notify the probation officer within seventy-two (72) hours of any change in residence or
       employment;
( 7)   refrain from excessive use of alcohol and not purchase, possess, use, distribute, or administer any
       narcotic or other controlled substance, or any paraphernalia related to such substances, except as
       prescribed by a physician;
( 8)   not frequent places where controlled substances are illegally sold, used, distributed, or
       administered;
( 9)   not associate with any persons engaged in criminal activity and not associate with any person
       convicted of a felony unless granted permission to do so by the probation officer;
(10)   permit a probation officer to visit the defendant at any time at home or elsewhere and permit
       confiscation of any contraband observed in plain view by the probation officer;
(11)   notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
       law enforcement officer;
(12)   not enter into any agreement to act as an informer or a special agent of a law enforcement agency
       without the permission of the Court; and,
(13)   notify third parties of risks that may be occasioned by the defendant's criminal record or personal
       history or characteristics, and permit the probation officer to make such notifications and to
       confirm the defendant's compliance with such notification requirement, as directed by the
       probation officer.
          Case 4:19-cr-00115-O Document 37 Filed 08/13/19                  Page 3 of 4 PageID 91
Judgment in a Criminal Case                                                                           Page 3 of 4
Defendant: LORAGECAR FIGARO
Case Number: 4:19-CR-00115-O(1)



      In addition, the defendant shall:

      not commit another federal, state, or local crime;

      not possess illegal controlled substances;

      not possess a firearm, destructive device, or other dangerous weapon;

      cooperate in the collection of DNA as directed by the U.S. probation officer;

      report in person to the U.S. Probation Office in the district to which the defendant is released from the
      custody of the Federal Bureau of Prisons within 72 hours of release;

      not possess any mail items in any name other than his true and legal name, Loragecar Figaro, unless the
      items were mailed to a physical address, post office box, or other mailing address on file with the U.S.
      Probation Office prior to the date posted on the mailed item. He shall not possess, handle, or distribute
      any identification, credit cards, bank checks or other financial instruments in any name other than his
      true name, Loragecar Figaro;

      provide to the probation officer complete access to all business and personal financial information;

      refrain from any unlawful use of a controlled substance, submitting to one drug test within 15 days of
      placement on probation or release from imprisonment and at least two periodic drug tests thereafter, as
      directed by the probation officer pursuant to the mandatory drug testing provision of the 1994 crime bill;
      and,

      participate in a program approved by the probation officer for treatment of narcotic or drug or alcohol
      dependency that will include testing for the detection of substance use, abstaining from the use of
      alcohol and all other intoxicants during and after completion of treatment, contributing to the costs of
      services rendered (copayment) at the rate of at least $25 per month.

                                                FINE/RESTITUTION

      The Court does not order a fine or costs of incarceration because the defendant does not have the
      financial resources or future earning capacity to pay a fine or costs of incarceration.

      Restitution is not ordered because there is no victim other than society at large.
         Case 4:19-cr-00115-O Document 37 Filed 08/13/19                 Page 4 of 4 PageID 92
Judgment in a Criminal Case                                                                      Page 4 of 4
Defendant: LORAGECAR FIGARO
Case Number: 4:19-CR-00115-O(1)



                                                   RETURN

            I have executed this judgment as follows:




            Defendant delivered on _____________________ to ___________________________________

      at ________________________________________________, with a certified copy of this judgment.


                                                        United States Marshal

                                                        BY
                                                        Deputy Marshal
